Case 1:17-cr-10004-STA    Document 462 Filed 12/05/17     Page 1 of 1    PageID
                                    1551



              IN THE UNITED STATE DISTRICT COURT
            FOR THE WESTERN DISTRICT OF TENNESSEE
                       EASTERN DIVISION

UNITED STATES OF AMERICA,
    Plaintiff,
vs.                                       CASE NO. 17-cr-10004-STA
EDRICK FASON
    Defendant.


ORDER GRANTING MOTION TO CONTINUE HEARING AND NOTICE
                    OF SETTING



      This matter came to be heard on Motion of Counsel for Defendant.

      Counsel’s Motion is GRANTED.

      The Sentencing Hearing shall be continued to January 23, 2018 at 9:00

AM.

      It is so ORDERED this 5th day of December 2017.



                              s/S. Thomas Anderson
                              S. Thomas Anderson, Chief U.S. District Judge
